      Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JONATHAN A. AZAR,                            )
                                             )
                   Plaintiff,                )
                                             )
v.                                           )      CIVIL ACTION FILE
                                             )      NO.
CITY OF CHAMBLEE, GEORGIA                    )
                                             )
                   Defendant.                )
                                             )

                            NOTICE OF REMOVAL

TO: The Judges of the United States District Court for the Northern District
    of Georgia.

      Defendant City of Chamblee, Georgia (“Defendant” or the “City”) files this

Notice of Removal pursuant to 28 U.S.C. § 1441(c). In support of this Notice,

Defendant states as follows:

      1.     Defendant is named in a civil action commenced in the Superior Court

of DeKalb County, Georgia, captioned as Johnathan A. Azar v. City of Chamblee,

GA, Civil Action No. 21CV6134. Pursuant to 28 U.S.C. § 1446(a), true and correct

copies of the Complaint, Summons on the City, and Affidavit of Service are attached

collectively as Exhibit A to this Notice and constitute all process, pleadings, and

orders received by Defendant in this action. Defendant reserves all defenses relating
      Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 2 of 6




to process and/or service of process.

      2.     Defendant was served with the Complaint in this action on October 12,

2021. As such, this Notice of Removal is filed and served within thirty (30) days

after the receipt by Defendant of a copy of the initial pleading setting forth the claim

for relief upon which such action or proceeding is based, and the time for filing this

Notice of Removal pursuant to 28 U.S.C. § 1446(b) has not expired.

      3.     Inasmuch as Plaintiff commenced this action in the Superior Court of

DeKalb County, Georgia, which lies within the Atlanta Division of the United States

District Court for the Northern District of Georgia, this Court is “the district court of

the United States for the district and division embracing the place where such action

is pending.” 28 U.S.C. § 1441(a).

      4.     The district courts have original jurisdiction over all civil actions

arising under the Constitution, laws, or treaties of the United States. See 28 U.S.C.

§ 1331. In the Complaint, Plaintiff asserts claims pursuant to Title VII of the Civil

Rights Act, 42 U.S.C. § 1981, and 42 U.S.C. § 1983. Thus, Plaintiff has clearly

alleged a cause of action which depends on the resolution of a federal question of

which this Court has original jurisdiction. As such, removal of this action to this

Court is proper pursuant to 28 U.S.C. § 1441.
      Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 3 of 6




      5.     Plaintiff’s Complaint does not include any state law claims.

      6.     The City is the sole defendant in this action and therefore no other

defendant needs to consent to this removal.

      7.     Contemporaneous with the filing of this Notice of Removal, written

notice has been served upon Plaintiff, and a copy of the Notice of Removal has been

filed with the Clerk of Court for the Superior Court of DeKalb County, Georgia, as

provided under 28 U.S.C. § 1446(d).

      WHEREFORE, Defendant hereby removes the above-styled civil action to

this Court’s jurisdiction.

      Respectfully submitted this 10th day of November, 2021.

                                              s/ Megan L. Quinn
                                              Patrick L. Lail
                                              Georgia Bar No. 431101
                                              Megan L. Quinn
                                              Georgia Bar No. 625272

ELARBEE, THOMPSON, SAPP & WILSON, LLP
800 International Tower
229 Peachtree Street, N.E.
Atlanta, Georgia 30303
(404) 659-6700
(404) 222-9718 (facsimile)
lail@elarbeethompson.com
quinn@elarbeethompson.com

Attorneys for Defendant
     Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 4 of 6




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JONATHAN A. AZAR,                           )
                                            )
                  Plaintiff,                )
                                            )
v.                                          )      CIVIL ACTION FILE
                                            )      NO.
CITY OF CHAMBLEE, GEORGIA                   )
                                            )
                  Defendant.                )
                                            )

                     CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that this document complies with the font

and point selection approved by the Court in Local Rule 5.1. This document has

been prepared in Times New Roman font, 14 point.

      Respectfully submitted this 10th day of November, 2021.


                                            s/ Megan L. Quinn
                                            Megan L. Quinn
                                            Georgia Bar No. 625272
     Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 5 of 6




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JONATHAN A. AZAR,                          )
                                           )
                  Plaintiff,               )
                                           )
v.                                         )     CIVIL ACTION FILE
                                           )     NO.
CITY OF CHAMBLEE, GEORGIA                  )
                                           )
                  Defendant.               )
                                           )

                        CERTIFICATE OF SERVICE

      I hereby certify that on November 10, 2021, I served a copy of

DEFENDANT’S NOTICE OF REMOVAL via U.S. Mail and the Clerk of Court

using the CM/ECF system to the following attorney of record:

                             Jeanne Bynum Hipes
                               Hipes Law LLC
                      2475 Northwinds Parkway, Suite 200
                             Alpharetta, GA 30009
                                (678) 867-7006
                            counsel@hipeslaw.com


                                           s/ Megan L. Quinn
                                           Megan L. Quinn
                                           Georgia Bar No. 625272
     Case 1:21-cv-04655-SDG-RDC Document 1 Filed 11/10/21 Page 6 of 6




ELARBEE, THOMPSON, SAPP & WILSON, LLP
800 International Tower
229 Peachtree Street, N.E.
Atlanta, Georgia 30303
(404) 659-6700
(404) 222-9718 (facsimile)
quinn@elarbeethompson.com

Attorney for Defendant




                                   -2-
